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oO sn DH tw SB OH Nhl hlUlUOCOULlUlUN Olle OC ROK Sl

 

EXHIBIT 7

DECLARATION OF FULVIO F, CAJINA

 
SIGNAL

FORENSIC MEDIA SERVICES

Oct 10, 2016

Statement of Work: Multichannel Video Production

This statement documents the production of one time-coded multichannel digital video
recording.

Synchronization

| was given several police body-mounted digital video recordings that depict one
recorded event from different vantage points. i was asked to produce a multichannel
video recording that displays the recorded event in its entirety. | identified three
recordings that contain simultaneous footage from different vantage points (noted
below). Using the video editing software Adobe Audition, | resized and synchronized the
three recordings and placed them above a running timecode indicator to produce one
multichannel! video. The videos were produced in their entirety and are otherwise
unaltered.

Transcription and Time Notation

| transcribed the audio and produced one transcript, provided in .PDF format. | also
produced one subtitle overlay for each video, delivered in .SSA format. These subtitle
transcripts can be overlaid onto the video during playback. | was asked to identify the
exact moment when chest compressions began.

Fee Schedule
The fee for my services were provided at the discounted rate of $100.00 per hour.

Bryan M? Reuter
Forensic Media Examiner
Signal Forensic Media Services
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FORENSIC MEDIA SERVICES

Sept 25, 2016

Introduction

This report details the analysis of a digital video recording received from Fulvio Cajina.
Mr. Cajina requested that this video be analyzed to determine whether any photographic
depictions of the subject's lips could be identified and collected. He also requested that |
give him my opinion as to whether or not the video contained photographic evidence of
changes to the subject’s lips throughout the recording. After reviewing the material, |
advised Mr. Cajina that recording was sufficient to collect data in three separate
instances. This report details the collection and analysis of still frame images from the
digital video recording.

Technical Terms

1) RGB: An additive color model in which Red, Green and Blue light are added
together to reproduce images. _

2) Luma: represents the brightness (or achromatic values) of an image.
3) Bitstream: A binary data sequence. A ‘direct bitstream’ is an identical digital copy.

4) Image Histogram: A diagram that plots the tonal value of a collection of pixels. The
horizontal axis represents the tonal variations, and the vertical axis represents the
prevalence of a particular tone.

Evidence

File Name: asstd_HPD_in_an_11-95.mp4
File Type: MPEG-4

Video Codec: H264 AVC

Image Size: 640 x 480

Pixel Aspect Ratio: 1:1

Frame Rate: 29.97 fps

Total Duration: 00:16:17.403

The digital video is a police body-mounted camera. The file was stored in a lossy,
compressed format. The low-resolution image is consistent with standard police
footage. | examined the video contents and determined the file was playing properly.
Analysis Tools

‘1. ImageJ 4. HxD
2. VirtualDub 1.10.4 5. Media-Info
3. Remuxer 6. Adobe Photoshop CC ‘

Image Collection

After thoroughly reviewing the video and isolating the three segments, ! collected still
images from the video by extracting direct bitstream copies of the images. These
images are identical to their corresponding frames within the native video. In each
collected image, the region near the lip (Area A) was compared to the region of nearby
skin (Area B). The first two instances occur at the beginning of the recording (00:01:02
and 00:01:32). The third instance occurs at 00:11:29. Because of the inconsistent
lighting of the environment caused by police light bars, | chose two separate images
from Figure 1 and three separate images from Figure 3 for measurement. RGB and
luma values were measured for each area, and the mean values were calculated. The
collected images were cropped and exhibits were created. In each exhibit, the yellow
arrow indicates the sampling location of Area 1, and the green arrow represents the
sampling location of Area 2.

Comparison of Mean Values: Figures 1-6

Figure 1 (00:071:02.309) Figure 4 (00:11:29.313)

 

 

 

 

 

 

 

 

 

 

 

 

Difference: | Areas A-B Difference | AreasA-B
Red 17.344 Red -51.069
Green 16.306 Green -49.187
Blue 8.604 Blue -54,214
(R+G+B)/3 | 14.1 (R+G+B)/3 | -51.513
Luma 15.746 Luma -50.221

 

 

 

Figure 2 (00:01 :02.407) Figure 5 (00:11:29.738)

 

 

 

 

 

 

 

 

 

 

 

 

 

Difference: | Areas A- B Difference | Areas A-B
Red 3.845 Red -15.695
Green 7.493 Green -23.827
Blue 4,26 Blue -27.833
(R+G+B)/3 | 5.242 (R+G+B}/3 | -22.44
Luma 6.058 Luma -21.791

 

 

 

Figure 3 (00:01 :32:060) Figure 6 (00:11:32.510)

 

 

 

 

 

 

 

 

Difference | Areas A-B Difference | Areas A-B
Red 15.988 Red -6.008
Green 16.917 Green -10.599
Blue 15.958 Blue -10.383
(R+G+B)/3 | 16.286 (R+G+B}/3 | -8.859
Luma 16.566 Luma -9,106

 

 

 

 

 

 

 

 

 

 

 

 
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imecode: 00:01:

end

Figur

 
Figure 1 Histograms (RGB Values)

 

AREA A (LIP)
ee
G 255

Count: 56 Win: 57
Mean: 73.895 Max: 90

StdDew 8.569 Made: 77 (13)

 

 

es
0 235
Count: 86 Min: 53
Mean 68.977 Max: 84
StdDev: 8.146 Moda: 77 (14)
es
a 255
Count: 36. bitin: 59
Meam 77.070 Max: 39

Supev: B.71]3 Mode: 77 (13)

 

 

.AREAB
ee
6 255

Count: 92 Min: 7%
Mean 91.239 Max: 112
SedDav: 8.112 Mode: $7 {15)
ee
g 255
Counk 92 Min: 69
Mean 85.283 Max: 106

StdDev: 8.043 Kode: 91 (15)

 

Se
0 2355
Count: 52 Min: 73
Mean: 85.674 Max: 106

StdDev: 7.495 Mode: 91 {15}
Figure 2: Timecode: 00:01 :02.407

 
Figure 2 Histograms (RGB Values}

AREA A (LIP)

 

   
   

 

 

a 2558
Count: 97 Min: 75
Mean: 88.794 Max: 105
Std Dev: 7.246 Mode: &8 {9}
ee
G 255
Count: 97 Min: 67
Mear: §1.237 Max: $9
StdDew 7.244 Mode: 82 (9}
ee
6 255
Count: 97 Min: 74
Mears 87.773 Max: 103

SidBev: 6.066 Made: 96 (11)

AREAB

 

   

 

 

 

   

0 255
Count: 122 Min: 72
Mean: 92.639 Max: 105
Std Dev: 7.448 Mode: &9 (8)
es
6 255
Count: 122 Min: 71
Mean: 88.730 Max: 99
StdDev: 6.656 Mode: $2 {10}
ee
0 255

Count: 172 Min: 7
Bean: 92.033 Max: 104
StdBev: 8.103 Mode: 99 (11)
Figure 3: Timecode: 00:01:32.060 .

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Figure 3 Histograms (RGB Values)

AREA A (LIP)

 

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F

 

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Count: 42 Mire 75
Meare 106.548 Max: 133
StdDev: 14.032 Mode: 95 {4}

 

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Ww

Court: 42 Min: 56
Mean: 76.833 Max: 98
StdDev: 10.532 Mode: 64 (4)

 

r

we

255

Count: 47 Minx 58
Meare $4,024 Max: 105
StdDev: 11.665 Made: 73 (5)

3

AREA B

 

 

a 255
Court: 56 Min: 98
Maan 122.536 Max: 137
StdDev: 8.323 Mode: 125 (7)

 

 

2

LA

5

Count: 56 Min: 73
Mean: 93.750 Max: 104
StiDev: 6.759 Mode: 97 (7)

 

 

255
Count: 56 Mir: 76
Mean 99.982 Max: 113
StdDev: 7.752 Mode: 101 (53
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g
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imecode: 00:11

T

Figure 4

 
Figure 4 Histograms (RGB Values)

AREA A (LIP)

 

 

Count: 117 Min: 90
Mearm 127.103 Max: 157
SedDev: 14.666 Mode: 123 (8)

 

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Count: 117 Min: 59
Mear 97.641 Max: 130
StdDew 14.422 Made: $4 (6)

 

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Count: 117 Min: G4
Mean: 102.034 Max: 133
StdBev: 14.392 Mode: $8 (6)

AREA B

 

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Count: 390
Mean 76.034
StdéDev: 8.615

Min: 54
Max: 92
Mode: 80 (44)

zZ

 

A

 

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Count: 590
Mean 43.454
StdDev: 7.327

Min: 33
Max: 63
Mode: 53 {45}

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Count: 590
Mean: 47.820
StdDev: 5.382

Min: 32
Max: 61
Made: 56 (493

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Figure 5: Timecode: 00:11

 
Figure 5 Histograms (RGB Values)

AREA A (LIP)

 

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Count: 224 Min: 55
Mean 79.732 Max: 119
StdDev. 12.967 Mode: 62 (12)

 

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Count: 224 Min: 45
Mean: 73.384 Max: 103
StdDev: 11.277 Mode: 63 (11)

 

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a

243

Count: 224 Min: 59
Mean: 79.612 Max: 116
SidDev: 11.916 Mode: 75 {21}

AREA B

 

G 255
Count: 438 Min: 40
Mear 64.037 Max: 79
StdDev: 7.849 Mode: 68 (33)

 

G 255
Count: 488 Min: 34
Mean 49.557 Max: 61
SidDev: 5.349 Mode: 47 (37)

 

G 255
Count: 488 Min: 37
Mean: 51.779 Max: 66
StdDev: 6.573 Mode: 39 (32)

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Figure 6: Timecode: 00:11:32.510

oe

 
Figure 6 Histograms (RGB Values)

AREA A (LIP)

 

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Count: 164— Min: 56
Maan: 70.029 Max: 80
SiiDew: 4.961 Mode: 73 (14)

 

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or

Count 104 Min: 51
Mean 64.308 Max: 70
StdDew 4.560 Mode: 68 (14}

 

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o

Count: 104 Min: 47
Mean: 61.490 Miax: 70
StdBev: 4.647 Made: &5 {14}

AREA B

 

P

wl

235

Q

Count: 316 Min: 47
Mear: 64,021 Max: 75
StdDew 7.7271 Mode: 71 (35)

 

P

255

Count: 516 Min: 37
Mean: 53.769 Max: 56
StdDev: 6.831 Mode: 60 (353

 

a 255
Count $15 Min: 36
Mean 51.167 Mast 67
StdDev: 6.052 Mode: 54 (37}

1A
Limitations

Interpretation of the image contents is made more difficult by the lack of comparable
exemplars within the footage. The changing distance, position, and angle of the camera
as well as the inconsistent lighting of the environment must be factored in to any image
analysis.

Conclusion

Visual analysis of the images and calculations of the pixel values in Figure1, Figure 2,
and Figure 3 all show Area A and Area B to have similar values. This indicates that the
Lip and surrounding skin area have similar color and brightness. In Figure 4, Figure 5,
and Figure 6, both the luma and blue values are higher in Area A than in Area B (see
Comparison of Mean Values).

In my professional opinion, the images of Mr. Greer in Figures 4 through 6 depict tips
that appear lighter and bluer than are depicted in Figures 1 through 3. A qualified
medical expert should perform further content analysis and image interpretation.

| am a disinterested party to the case involved in this investigation and its subsequent
outcome. | have presented my findings base on the evidence provided to me. | have
done so io the best of my ability. | attest, with a reasonable degree of professional
certainty, to the findings in this report that they are true and accurate.

Bryan M. Reuter
Forensic Media Examiner
Signal Forensic Media Services

45
S IG NAW 518 40°" st, #5 Oakland, CA 94609
(415)205-2519

FORENSIC MEDIA SERVICES bryan@signalfms.com

BRYAN M. REUTER

lam an experienced digital forensic examiner. | specialize in analysis and authentication of recorded evidence. | work as
a court-appointed forensic media expert on state and federal cases in California and beyond. | consult with companies,
government agencies and individuals on all aspects of digital evidence. | have provided expert witness testimony in
California courts and my admissible work product has been consequential in determining case outcomes. | have a
strong background with electronic discovery, litigation support, case management, data forensics and evidence
handling.

EDUCATION, STUDIES AND PROFESSIONAL CERTIFICATIONS:

National Center for Media Forensics 2016
College of Arts & Media, University of Colorado Denver

Forensic Analysis and Authentication of Digital Audio

Forensic Authentication of Digital Images

American College of Forensic Examiners Institute (ACFE3} 2031
Member since 2011

International Society of Forensic Computer Examiners (ISFCE) 2011
Certified Forensic Examiner.

Extensive training in forensic analysis, proper evidence handling, and best

practices of data collection and analysis. ISFCE Falls, Church, VA

LexisNexis 2011
Certified LAW PreDiscovery Administrator (ADM) and E-Discovery Professional
Data and case-management for legal services

Peraita College, Oakland, CA 2013
Computer Information Systems

MEMBERSHIPS

Audio Engineering Society (AES) 2013 - present
AES Technical Committee — Audio Forensics
American College of Forensic Examiners Institute 2011 - present

PRESENTATIONS AND LECTURES

Audio Forensics: Spectral Analysis of Digital Evidence Recordings 2016
UC Santa Cruz: Digital Arts and New Media, Mechatronics Research Group

Tools for Audio Analysis: An Introduction 2016
UC Stana Cruz: 2-3:45 PRTR 28 Sound Art
CONFERENCES

140" AES Conference — Technical Program: Audio Forensics June 2016

ACFE! Executive Summit Aug 2015

SAMPLE CASES

U.S. v. Chow, et al. CR14-0196 CRB 2015 — 2016
Court-appointed expert providing investigation of digital evidence, audibility

clarification of video recordings, and investigation related to FBI audio transmission

errors. Expert witness testimony for the defense.

California Public Utilities Commission — Utility Enforcement 2015 — 2016
Retained by CPUC to investigate fraudulent Third Party Verification recordings.
recorded evidence was proven inconsistent with authentic phone recordings.

*Individual vs. City Government 2015 - 2016
Consultation with city government to provide analysis and interpretation of

digital evidence, including 9-1-1 recordings and forensic reports of mobile devices.

| created a verifiable timeline of events confirmed by metadata and audio analysis.

lam currently retained as a potential expert witness.

People v. Albert Carreon CR2012-007977-001 DT 2015
Retained by defense counsel and appointed by Arizona Court of Appeals

to perform analysis and audibility clarification of recorded evidence related to a

first degree murder. My work produced exculpatory evidence that is being used

toward the goal of reversing Mr. Carreon’s death penalty conviction.

U.S. v. Roderick Newberry, et al. CR-14-00389-YGR 2014 - 2015
Forensic Media Expert:

Court-appointed expert providing analysis, authentication and clarification of

recorded evidence. Case-wide analysis of recorded discovery, disputing certain

assertions made by the prosecution and confirming others. | provided audibility

clarification of distorted audio, forensic transcription, and clarified and

stabilization of video evidence.

U.S. v. Cruz, et al. CR-11-355-24-E) 2014
Court-appointed expert to encode, process and clarify audio and video recorded

evidence on behalf of a multi-defendant team. Noise reduction and clarification

of the evidence was performed. Inaudible conversations were processed and

severely damaged audio was restored

People v. Scott Smith 14000124 2014
| was appointed by California superior court to perform restoration and

clarification of video evidence. | performed image stabilization, clarification and

reversed lens distortion which made analysis of the recorded evidence possible
U.S. v. Hyin, et al. CR-12-00467-RS 2013
| was retained by Mr. liyin’s criminal defense team to analyze and authenticate

several audio recording to determine whether the recorded evidence had been

tampered with. | employed forensic analysis of the data and spectral analysis of

the audio itself.

U.S. v. *an Individual 2013
| was retained for expert forensic authentication of pole-mounted cameras. |

was tasked with confirming the authenticity of metadata provided by law

enforcement, and validating the time-stamps of an image array. My analysis

confirmed the defense team’s assertion that the evidence was not properly

collected by local law enforcement.

U.S. v. Anthony Decuir 2013
| was retained for expert forensic analysis, authentication and clarification of

recorded evidence to determine whether or not a suspect was involved in a

recorded conversation.

U.S. v. Ivan Cerna, et al. CR-08-0730 WHA : 2011 - 2012
| worked with a multi-defendant criminal defense team to perform analysis,

conversion and case management focusing on thousands of pieces of recorded

evidence. | performed audio clarification for multiple transcription teams, and

prepared audio for trial

U.S. v. *an individual et al 2012
| worked with a multi-defendant criminal defense team to manage recorded

wiretaps and cails made inside a jail facility. | captured and stored metadata,

and performed forensic verification on a case-wide basis.

*A full case history is available upon request. Confidentiality agreements require that | withhold the name of certain
clients and their defendants.

WORK HISTORY
Signal Forensic Media Service 2014 - present

Colour Drop 2004 - 2014
Technology Manager / Electronic Discovery Specialist
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Signal Forensic Media Services

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(415) 205-2519

bryan@signalfms.com

0:00:42.60

0:00:45.95

0:00:47.40

0:00:55.66

0:00:57.15

0:00:57,93

0:00:58.33

weapons

0:00:59,52

0:01:04.79

0:01:07.90

0:01:08.84

0:01:09.42

0:01:09.68

0:01:11.56

0:01:13.99

0:01:15.13

do?

0:01:17.58

0:01:18.82

0:01:20.38

file name: GREER_COMBINED TIMECODED.mp4

Officer: My camera's going too by the way
Officer: There's just one in there?

Officer: Hey, step out of the car

Officer: Have you got uh, weapons on you at all?
Greer: No I don't

Officer: Okay

Officer: Just gonna pat search you, make sure you don't have any

Greer: Okay

Greer: When, when was this warrant from?

Officer: [U/T]
Officer: Yep
Officer: What's that?

Greer: But what was it that you're arresting me for?
Officer: You're not under arrest

Officer: How much you had to drink tonight?

there was 4 bottle earlier. What'd I

Greer: Nothing, I had a..

Officer: Keep your hands [U/I]
Officer: Don't keep pulling away

Officer: How much have you had to drink tonight?

Signal Forensic Media Services

 
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there at the liquor store.. That was cheap.

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0:01:31.01

0:01:39.25

Greer: Nothing, you know there was a cheap bottle that I got over
I put it on the ground
Officer: Return to.. right against the truck

Greer: What uh, what happened?

Officer: Look at my forehead, okay? You see my finger in front

of your face?

0:01:42.83
0:01:43.42

0:01:46.29

Greer: Yeah
Officer: I'm gonna move my finger from left to right, okay?
Officer: When I do that, J want you to follow my finger with

your eyes only.

0:01:50.58

O:01:52.29

Officer: You're going to keep your nose lined up with mine

Greer: Okay I know now my eye.. what do you do

with it.. which way?

0:01:55.35

0:01:56.56

0:01:57.36—

0:01:59.53

0:02:00.68

0:02:01.35

0:02:06.77

0:02:12,.84
0:02:14.61
0:02:20.20
0:02:21.00
0:02:23.55
goofy.

0:02:27.74

Officer: I'm gonna move my finger left and right

Greer: Okay

Officer: You're gonna follow with your eyes only, not your head
Greer: Okay
Officer: See my finger?
Greer: Uh huh (Affirmative)
Officer: [U/I] Keep looking at my fingers

Officer: How much have you had to drink tonight, really?
Greer: [U/I] taste of a bottle over there.
Officer: [U/I] You're gonna book him
Officer: Why?

Officer: [U/I] ahead of you... You're driving kind of.. all,

Officer: Let's go over to the other side of the truck where it's

Signal Forensic Media Services 2

 
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0:02:38.43

0:02:41.05

0:02:41.93

0:02:44,73

0:02:46.47

0:02:48.58

0:02:49.83

0:02:52.23

0:02:52.83

Officer: We'll have you do some sobriety tests for me, okay?
Greer: Okay
Officer: Do you have any problems with your, your legs?

Greer: Yes, I do.

Officer: What, What type... What kind of problems?

Greer: [U/TI]

Officer: Knees?

Greer; What do you want?

Officer: I want to do some, some sobriety tests

Greer: Okay

Officer: And so, In order for me to do that, a lot of it is

balance related

0:02:56.42

0:02:57.17

Greer: Okay

Officer: I need to be fair to you and ask you if you have any

medical conditions that would be [U/T]

0:03:00.70

0:03:04.52
legs?
0:03:07.54
0:03:08.65
0:03:09.89
0:03:11.07
0:03:12.05
before

0:03:17.68

Officer: Yeah I do really.. You know what, I do I had [U/I] which
Officer: And how about your legs? Do you have a problem with your
Greer: Wo, not really

Officer: Your balance is okay?

Greer: Kind of, yeah
Officer: Okay.

Greer: My leg [stutters] what was the problem.. My leg was broken

Officer: Alight I want you to stand towards me. I want you to put

your feet together just like this

Signal Forensic Media Services 3

 
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0:03:22.15

together,

0:03:23.03_

0:03:25.08
0:03:25,91
0:03:29.17

your side.

Greer: Okay

Greer: Yeah.

Officer: Look how my feet are. Put your heels and your toes

Greer: Okay

Greer: Right
Officer: Your toes together.
Officer: Hold like that. Keep your hands down at

Tilt your head back slightly. Hands down at your side

0:03:35,.44 Officer: Tilt your head back. Close your eyes and then hold that
position.

0:03:39.98 Greer: [U/T]

0:03:42.47 Officer: I'm testing your balance

0:03:44.30 Greer: Where's my [U/I]. What are you guys going to de to me
here?

0:03:47.55 Greer: Um, I don't understand. TI don’t understand! I'm not
understanding!

0:03:49.55
0:03:50.46
0:03:52.56
0:03:53.84
0:03:58.70
though?

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0:04:05.78
0:04:07,.29
0:04:08,.42

guys doing

Officer: We're testing your balance.

Officer: To see if you've had too much to drink tonight

Greer: I haven't drank nothin'

Officer: Okay, well, your driving is really bad. And..

Greer: What are you guys, what are you guys messing with me for,

Officer: I'm trying to give you a field sobriety test, okay?

Greer: No wait, wait, wait, wait, wait, wait ,wait

Officer: Okay, don't be walking away

Greer: wait, wait, wait, wait, wait, wait, wait, What are you
to me?

Signal Forensic Media Services

 
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0:04:19.36

harassing me for,

0:04:25.96

0:04:27.27

0:04:28.23 |

0:04:29.66

0:04:30.28

0:04:31.46

0:04;32.65

0:04:33.32

0:04:36.65

0:04:37.88

0:04:39.97

0:04:41,.21

[scream]
0:04:42.16
back
0:04:44,74
your back!
0:04:44.75
0:04:49.17
0:04:50.28

0:04:50.28

Officer: Hey, relax. Relax. Relax! Relax.

Officer: You're not cooperating.

Greer: What are you doing to me? What are you doing to me?

Officer: Relax

Officer: Relax. Nothing. You're going to be alright, dude

Greer; {U/I] What are you doing to me? What are you guys

though? Because you..

Greer: What a minute. Aye, aye!

Officer: He can help you [U/T]

Greer: Wait a minute, Wait a minute.

Officer: Okay, Mr. Greer

Greer: What are you doing?

Officer: Put your hands behind your back.

Greer: What, what, what are you doing?

Officer: Mr. Greer put your hands behind your back

Greer: Okay okay wait, man.

Officer: Mr. Greer put your hands behind your back

Greer: Okay, okay, okay, hey! [screams]

Greer: Ow! You're breaking my arm! You're breaking my.. Ow!
Officer: Put your hands behind your... Put your hands behind your
Officer: Put your hands behind your back. Put your hand behind
Greer: [screams] Ow! [screams]

Officer: Step him back

Greer: [scream] What are you doing?

Officer: Put your hands [U/I]

Signal Forensic Media Services 5

 
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Greer: [Grunt] What are you guys doing?

Greer: What are you doing?

Greer: What are you doing?

Officer: Relax!

Greer: What are you doing? Hey! What are you doing?
Officer: Relax.. Relax

Greer: [screams] Hey! Hey!

Officer: Yeah [U/I]

Greer; Hey! What are you doing? What are you doing?
Greer: Hey! You guys are fucking up, man.
Greer: {screams ]

Greer: [screams] Hey! Hey!

Officer: Okay, you need to stop...

Officer; Put your hands behind your back, dude!
Officer: Put your hands behind your back

Greer: What are you doing?

Greer: Fine!"

Officer: We got, we got one on [U/T]

Greer: What are you doing?

Officer: Get another one?

Officer: Yeah

Greer; What are you doing?

Greer: What are you doing?

Officer: Got one in

Greer: No.. What are you doing?

Greer: What are you doing?

Greer: What are you doing?

Greer: What are you doing?

Signal Forensic Media Services

 
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Officer: Roll over on your stomach!
Greer: What are you doing?
Greer: What are you doing? What are you doing?

Officer: Roll over on your stomach!

Officer: We gotta ball here
Officer: Huh?
Officer: Roll over on your stomach!
Officer: Roll over on your stomach!
Greer: What are you doing?

Officer: There you go

Greer: What are you doing?

Officer: Why?

Officer: Alright

Officer: Hey, watch our bro
Officer: Now this is good

Greer: What are you doing?
Officer: Can you get the other hand back here?
Greer: What are you doing?

Officer:, Look out on your [U/I] foot

Officer: That was no feot.

Greer: What are you doing?

Officer: Put your hands behind your back!

Greer: Fuck that shit! ay! ay!

Officer: Yeah, he got hands

Greer: No!
Officer: Yeah, he got hands

Greer: Ay! just go away!

Greer: [grunt] hey

Signal Forensic Media Services

 
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[crosstalk]

Officer: Gary, can you wash his hand out?
Officer: Put your hand in right there
Officer: Here give it to me here here...
Officer: Okay

Greer: [scream]

Greer: Fuck that shit!

Greer: [grunt]

Officer: Hey, hey hey’

Officer: [U/T]

Greer: [grunt] hey! hey!

Officer: Okay, no no. There's too many people on here.
Officer: Hey

Officer: Mr. Greer!

Officer: Mr. Greer! You need to stop resisting or
tased! Do you feel me [U/Ij?

Officer: You're gonna get tased

Officer: Put your hands behind your back!
Officer: You're gonna get tased!

Officer: He's got the cuffs flipped over
Officer: Let me help you out [grunt]
[sound of taser]

Greer: [screams]

Officer: Put your hands behind your back!
Greer: What are you doing?

Greer: What are you guys doing?

Greer: What are you guys doing?

[taser sounds]

Signal Forensic Media Services

 
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0:07:41.14
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Officer: Put your hands behind your back! Put your...
Greer: [screams]

Greer: fuck this shit

Greer: What the fuck did you guys do?

Greer: what the fuck are you guys doing?

Officer: We are being subject to try to get him in to
Officer: no no no on

Officer: .. should have gone over to..

Greer: Hey! What the fuck you guys do to me?
Officer: no, no, no

Greer: [scream] [grunt]

Officer: I go the... I got the cuffs on this side
Officer: We need a cuff on this side

Officer: I'd rather take this one

Officer: He, he, he's got his hand underneath it
Greer: fgrunt]

Officer: [U/I] ..cuffs

Officer: I've got.. here

Greer: What the fuck are you guys doing?

Officer: We just need that other hand

Greer: Ayel'

Officer: Alright.

Officer: I've got his other hand here

Officer: Hold up!

Greer: What the fuck are you guys doing? ow!

Officer: Just give 'em your hands, buddy

Greer: Hey!

Officer: Just give him your hands! Just relax!

Signal Forensic Media Services

 
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Officer: Hey! I [U/I] your car
Officer: Yep.. We're trying to [U/I]
Greer: [grunt]

Officer: Relax!

Officer #: Hold on...

[grunts]

Officer: Okay, is the other one on?

Officer: Let's have a cuff on it.. Does the other one have a cuff

Officer: No it doesn't

[grunts] Officer #: Get that one...

Officer: Alright, relax dude.

Greer: Hey!

Officer: Do you understand me?_

Officer: You got, got it?

Greer: [grunt]

Officer: Hey, take that other cuff off. I got it
Officer: Okay. You got it?

Greer: Hey! hey! hey!

Officer: There you go.

Officer: There you go. This is how [U/I]
Officer: Is it on his arm yet?

Greer: Hey!

Officer: Right there. Right there.

Greer: It's wrong!

Greer: [grunts] Get off me.. [grunt] get off me!
Officer: Just relax! Stop fighting!

Officer: Relax!

Signal Forensic Media Services

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Officer: Relax.

Greer: What you guys done?

Officer: [U/I] .. giving back the car?
Greer: Get off me! Hey!

Officer: We're going through the WRAP and...
Greer: Get off me! hey! hey! Get off me!
Officer: Shut... Relax,

Officer: Shut the fuck up, dude.

Officer: Relax

Officer: Relax

Officer: Relax dude. He's your friend.
Officer: Relax... Relax

Greer: Hey! Hey! Hey! Hey!

Officer: Relax... Relax...

Greer: Hey! Hey! Hey! Hey!

Officer: Just calm down dude.. Just relax.
Greer: Stop him!

Officer: Take a deep breath. Take a deep breath.
Officer: Who's gonna get them room?

Greer: [U/I] Hey! Hey!

Greer: [U/I] Hey! Hey!

Officer: Roll him out towards, towards [U/I]. Roll him out that

Greer: Come on! Hey!

Officer: We're gonna roll him out this way?

Officer: Hold On..

Officer: Hey Partner. Alright, this is gonna happen either way

Officer: So don't fight us any more, alright?

Signal Forensic Media Services

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going to hurt for you,

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0:10:33, 36

0:10:33.93

Officer: We're gonna roll you over. Don't fight us any more, it's

alright?
Officer:

Officer:

My taser's in there somewhere
Yeah, I got it. I got it LT. Don't worry.

did someone grab that?

we're gonna roll you over bud. Don't fight us.

Officer: There was a baton,
Officer: Yeah, that’s aside
Officer: Alright,

Officer: Alright, then be hard dude.
Officer: Hold on. Hold on.

Officer: Hold up, and I can hear ya
Officer: Come on!

Officer: The fuckin..

Officer: Hey, can you hear me?
Greer: [scream]

Officer: Just relax. Relax.

Greer: Hey

Officer: Alright?

Officer: Alright dude... You got
Officer: You gotta [U/I]
Greer: Come on!

Officer: Alright we're going..

[U/T]

Officer: L-T... L-T...

Greer: Hey!

Officer: [U/I]

Officer: Relax, dude.

Officer: Just relax, man.

Officer: Relax.

Officer: You can give it a whole one.

Signal Forensic Media Services 12

 
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still burning dude.

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Officer:

Just calm down

[U/T}

Very good.

What's that?

You okay?

Yeah, how you doing?
That's a big fuckin’ dude.
: dude

No kidding,

No center's that big and I was like 'yeah that shit's

Okay, that's going up.. Go up a little..
Here let me get the.. You don't want to go too far, dude
Are you good at this?

About- that's good right there.

Doing just fine, buddy

Doing alright, bro? Take two deep breaths.
Just laughing at us..

Okay.. You doing alright?

Huh?

I just talked ..

Hey..

Right there behind you in front

Roll him on his butt.

O:12:20.07 Officer: Check the pocket

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0:11:21.06
0:21:22.06

0:12:23.08

Officer:

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Officer:

Right there behind you,
Yeah, just roll him up
That's very [U/TI]

Roll him over

Signal Forensic Media Services 13

 
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Officer:

Here you go, man
You alright?
Slope up his knees
He's unconscious.
fU/T] we’re almost ready to clear
You alright, dude?
Hey! Wake up!
Want to roll him up?
and yeah roll away the [U/T]
-. Still got a pulse
Hey, how are you?
You hurt? Here.
I got it.
Come here with me.
I got, look those cuts
Right here?
Is he stiil unconscious or what?

Just try to do what [U/T]

[U/I] He was just assisting, we're going to talk te him

Tonight.

I know I'm trying to get..
It's not mine

Hey buddy, can you hear us?
People, people are parked.
Who? You okay?

Yeah.

Hey dude do you need medical eval?

Signal Forensic Media Services

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Officer:

No.

Huh?

You need medical for you? Are you cool?
No.

Let me try it [U/I] lucky

{U/T}] advise that he's code four.

He's a big boy

If you can hear us, wake up bud

[U/TI]

I know. I know. There we go.

Oh, my radio's not even..

James, James, James Greer

Yeah.

Here is his I.D. I was.. I eventually..
[U/I] kicked..

Oh, sorry though..

Aw...

I'm rollin' by the way

i'm too.. I am too, Just F.Y.I.

Whew!

Ouch. Don't get your fingers stuck in handcuffs.
Hey, Let's get together

Huh?

That's my blood, probably

No, I had his head it was going.. Grabbing, on the

Oh is that your blood here?

Signal Forensic Media Services i5

 
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0:13:04.51
0:13:04.86
0:13:06.44
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0:13:07.08
0:13:13.22
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Officer:..

Yeah [U/I] blood over here
Oh, gotcha
Where's the L-T? [laughs] How's he'

doing? [laughs]

Hey dude.. Hey, wake up, man.

Alright, paramedics are here. Let them..
Hey wake up man!

Right.. Need a smelling salt?

Alright, Paramedics are here
Yeah..

Like smelling sait...

Medic: What's going on?

Officer:

for a car stop, started to do a FeS-T and the

level went down

Officer:

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Officer:

when we were [U/T]

O:13:29.07 Officer:

and uh [U/T]

0:13:30.17

Officer:

That's a big dude, man.
[U/I] you goods on paper?
Huh?

You good on paper?

No. Rap. But other than that
Am IE? Yeah.
I am, yeah

Um, hey L-T, keeping this [U/I] for now?
You guys see him before?
It’s not common.

I think that’s his ring. I found it underneath the truck

{U/I} Fire is already over here working with the subject

Oh. Okay.

Signal Forensic Media Services 16

 
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Dispatch:

there's a subject on

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0:13:57.75

Officer:

Officer:

the mood ring,

[U/I] what, what do you think?

let's see what mood he’s in.

[laughs] black{laughs]

Alright? You okay?

Yeah

I know but how’s your hand?

You okay? Nice little adrenaline rush right there?

Well I ended up.. pulling him back and hitting my head
Point thirteen. Please be transferred. RP stating that

the San Francisco platform at 19th who is 647-F

[u/1]

Dude then why didn't you even teli me about that? Dude

that's important stuff

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Officer:

it out at one point.

0:14:38.85

Officer:

We're gonna get you checked cut.

I'm alright

Thanks a lot brother.

No, we need to get you checked out dude.
Yeah, no problem guys. No problem man.
You guys be safe.

Yeah, you too
I’m gonna go talk to fire real quick
You alright?
[laughs] How are you L-T?

Do you have a card we could..

Here's here's the guy's knife

because it threw

Okay, I was wondering where that went,

Yeah I, when I saw it was going south, I just tucked it

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0:14:36.26 Officer: How’s it going man?

0:14:36.74 Fire: Good, how you doing?

0:14:37.15 Officer: Hey, can’t complain. I’m Johnny come lately, you know
0:14:40.19 Fire: Hey, It’s all good

0:14:42.15 Officer: Hey partner will you do me a favor, man? Um, after you

guys are done checking on him, uh, my partner over there, while they were

wrestling with this dude he ended up banging his head on the back of dude’s.

truck. Would you mind just checking him out? He was trying to say he’s cool
but, just uh.

0:14:54.06 Fire: Okay.

0:15:55.06 Officer: Thank you and I appreciate it.

0:15:56.15 Fire: Do you want some... do you want me to clean that up too?

 

 

 

0:14:44.79 Officer: I'm gettin' older

0:14:46.45 Officer: I gave... He had a ring and I think it was his. I gave it

to one of these guys over here,
0:14:50.05 Officer: He had about..

0:14:53.31 Officer: And I'm, I'm still rolling

6:15:01.26 Officer: T’il go with you.

0:15:03.77 Officer: Yeah I saw you and I saw you backed up. And I couldn't
get around my light and I just kept waiting and waiting.

0:15:15.37 Officer: And we got.. a ring?

0:15:19.37 Officer: It is not your ring, right?

0:15:20.80 Officer: No, it's his ring

0:15:21.37 Officer: Oh, Okay

0:15:22,74 Officer: Okay, uh.. Why don't you go get some

alcohol swabs or something for your hand, too.

0:15:26.34 Officer: Oh, well he has to do use of force for me?

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6:15:28.91
0:15:35.37
to, uh, if
0:15:47.68
0:15:55.37
0:15:58.28
0:15:59.00
look normal
0:16:00.28
0:16:02.97
0:16:04.37

0:16:06,57

Officer: Probably.

Officer: Four - Thirty-Two fU/T] unit we'll need

he's not 97 yet he'll need to show up for use of force.

Officer: What did.... 10-4 my radio was off, and unplugged and..
Officer: Okay, where's your hat? That's why I..

Officer: I don't know

Officer: That’s why.. ‘cause you just, you just.. you just don’t

Officer: I've got a bad.. Bad hair day! [laughs]
Officer: Write your report number up on top
Officer: Alright L-T.

Officer: Dude let them, uh, look at your knuckies, man, Let them

take a look at your knuckles. Yeah

0:16:09.60
me to turn
0:16:13.25
0:16:47:13
0:16:53:11
0:16:55:15
0:16:58:29
0:17:00:13
we going wi
0:17:03:17
grab, hold
O:17:04:05
O:17:05:25

0:17:09:02

Officer: This is.. uh, I'm.. I'm rolling by the way. Do you want
it off?

Officer: Uh, yeah. That's fine

Officer: You good?

Officer: You WRAP'ed it? [U/Ij

Officer: What's that? [U/I] yeah I know

Officer: Strap these real quick

Fire: Watch, back. Yeah. You ready? Actually grab, hold on where
th it?

Fire: All right, up. Watch, back. Yeah. You ready? Actually

on where we going with it?

Fire: All right, up

Officer: Hey, take the [U/I] off, put mine on they're up

Officer: yeah yeah

Fire: All right 1-2-3.

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00:17:13:25

00:17:15:24

want that back [laughs]

00:17:22:10
00:17:25:10
00:17:38:04
00:17:52:08
00:17:54:07
00:17:54:11
OO:17:55:21
OO:17:56:21
Johnny come
00:18:01:13
00:18:03:17
00:18:10:19
how big this
00:18:15:23
00:18:16:19
on the truck
00:18:16:29
Officer: Oh
00:18:22:08
00:18:24:16
00:18:33:08
00:18:39:24
you, just so
00:18:45:28

00:168:47:14

Officer: There we go

Officer: Well, there's the hat. I don't know if he's going to

[U/T]

Officer: Yeah he was, he was using that as his pillow.

Officer: Should we [U/TI]

{erosstalk] Officer: dark? [U/I] you hold on. [U/I] no

Officer: And, un-WRAP him

Officer: Rolling, just F.Y.1I

Officer: Rolling, just F.Y.I

Officer: What?

Officer: I'm hot. just F.¥.I. You don't have to, uh, you're
lately.

Officer: [U/T]

Officer: Your skills were, were nice dude

Officer: You should go say 'Hi. Hey Bill.' Here, did you see
guy is?

[CHEST COMPRESSIONS BEGIN]
Officer: Oh man, yeah. He cut his hand up and banged his head
Officer: is this okay?

man, yeah. He cut his hand up and banged his head on the truck
Officer:

oh, that's not good.

[U/L] Officer: I, yeah I don't know

{crosstalk] Officer: You okay?

Officer: Okay, hey, I told, I told fire to hang out and talk to
they can check your head and stuff.

Officer: Well I don't even feel a lump

Officer: Okay Well, it will take two seconds.

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Officer:

your hand

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57:25

758.00

11:15

16:03

Officer:
Officer:
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Officer:

Officer:

The last thing, you need is.. You know, also have them

Dude, you're here. They're here.
Alright?

Yeah.

[U/I] noncompiiant when he got out

Okay. I'm going green

Signal. Forensic Media Services

[U/I] F-S-T

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